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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,
                                               Case No. 2:16-cr-155(3)
                                               Judge James L. Graham
        v.                                     Magistrate Judge Kimberly A. Jolson

LAZARO FLORES-LERMA,

        Defendant.
                            REPORT AND RECOMMENDATION

        The United States of America and Defendant entered into a plea agreement whereby

Defendant agreed to enter a plea of guilty to Count I of the Information, which charges him with

violation of 18 U.S.C. § 846.      (Doc. 2).    On August 30, 2016, at 2:30 p.m., Defendant,

accompanied by his counsel, appeared for an Arraignment on Information.                  Defendant

consented, pursuant to 28 U.S.C. §636(b)(3), to enter a guilty plea before a Magistrate Judge.

See United States v. Cukaj, 25 F. App’x 290, 291 (6th Cir. 2001) (holding that a magistrate judge

may accept a guilty plea with the express consent of the Defendant and where no objection to the

report and recommendation is filed). In addition, Defendant, after being advised of the nature of

the charge and of his rights in open court, waived his right to an indictment. See Fed. R. Crim. P.

7(b).

        During the plea proceeding, the undersigned observed the appearance and responsiveness

of Defendant in answering questions. Based on those observations, the undersigned is satisfied

that, at the time he entered his guilty plea, Defendant was in full possession of his faculties, was




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not suffering from any apparent physical or mental illness, and was not under the influence of

narcotics or alcohol.

        Prior to accepting Defendant’s plea, the undersigned addressed Defendant personally and

in open court and determined his competence to plead. Based on the undersigned’s observations,

Defendant understands the nature and meaning of the charge returned in the Information and the

consequences of the plea to Count I of the Information.           Defendant was also addressed

personally in open court and advised of each of the rights referred to in Rule 11 of the Federal

Rules of Criminal Procedure.

        Having engaged in the colloquy required by Rule 11, the Court concludes that

Defendant’s plea is voluntary. Defendant acknowledged that the plea agreement signed by him,

his attorney and the attorney for the United States and filed on August 8, 2016, represents the

only promises made by anyone regarding the charge in the Information. Defendant was advised

that the District Judge may accept or reject the plea agreement and that, even if the Court refuses

to accept any provision of the plea agreement not binding on the Court, Defendant may

nevertheless not withdraw his guilty plea.

        Defendant confirmed the accuracy of the material aspects of the statement of facts

supporting the charge. He confirmed that he is pleading guilty to Count I of the Information

because he is in fact guilty of the offense charged in Count I of the Information. The Court

concludes that there is a factual basis for the plea.

        The Court concludes that Defendant’s plea of guilty to Count I of the Information is

knowingly and voluntarily made with understanding of the nature and meaning of the charge and

of the consequences of the plea.


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       It is therefore RECOMMENDED that Defendant’s guilty plea to Count I of the

Information be accepted.     Decision on acceptance or rejection of the plea agreement was

deferred for consideration by the District Judge after the preparation of a presentence

investigation report.

       In accordance with S.D. Ohio Crim. R. 32.1, and as expressly agreed to by Defendant

through counsel, a written presentence investigation report will be prepared by the United States

Probation Office. Defendant will be asked to provide information, and Defendant’s attorney

may be present if Defendant so wishes. Objections to the presentence report must be made in

accordance with the rules of this Court.

       If any party seeks review by the District Judge of this Report and Recommendation, that

party may, within fourteen (14) days, file and serve on all parties objections to the Report and

Recommendation, specifically designating this Report and Recommendation, and the part thereof

in question, as well as the basis for objection thereto. 28 U.S.C. §636(b)(1); Fed. R. Civ. P.

72(b). Response to objections must be filed within fourteen (14) days after being served with a

copy thereof. Fed. R. Civ. P. 72(b).

       The parties are specifically advised that failure to object to the Report and

Recommendation will result in a waiver of the right to de novo review by the District Judge and

of the right to appeal the decision of the District Court adopting the Report and

Recommendation. See Thomas v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Federation of

Teachers, Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States v. Walters, 638 F.2d 947

(6th Cir. 1981).

       IT IS SO ORDERED.


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Date: August 30, 2016                       /s/ Kimberly A. Jolson
                                            KIMBERLY A. JOLSON
                                            UNITED STATES MAGISTRATE JUDGE




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